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February 1, 2024

The Honorable Michael A. Hammer, U.S.MJ.
United States District Court

District of New Jersey

Martin Luther King Building & U.S. Courthouse
50 Walnut Street

Newark, New Jersey 07101

Re: _ Emerson Redevelopers Urban Renewal, LLC v. Borough of Emerson, et al.
Civ. Action No.: 2:20-cv-04728-MCA-MAH

Dear Judge Hammer:

Please be advised that this firm represents the Borough of Emerson in the matter of
“The Borough of Emerson v. Emerson Redevelopers in the Superior Court of New Jersey,
listed under Docket No. L-3359-20.

It is our understanding that there is currently a settlement conference scheduled for
Monday, February 5, 2024 before Your Honor in the above captioned matter.

At the request of the Borough of Emerson, we would ask that we be permitted to
appear and participate in the settlement conference so that all pending claims between the
parties can potentially be resolved.

Thank you for your consideration of this request.

Respectfully requested,
GIBLIN & GANAIO, LLC
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Wn / AM
rian T. Giblin
BTG/mg
Cc: Leonard Seaman, Esq.

Joseph Fiorenzo, Esq.
Stephen Klein, Esq.
